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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             -   -   -   -   -   X

UNITED STATES OF AMERICA                                                                SEALED SUPERSEDING
                                                                                        INDICTMENT
            - v. -
                                                                                        S4 19 Cr . 833 (SHS)
JENNIFER SHAH, and
STUART SMITH ,

                                         Defendants.

-   -   -    -   -   -   -   -   -   -   -   -   -   -   -   -   -           -   X

                                             COUNT ONE
                                 (Conspiracy to Commit Wire Fraud)

            The Grand Jury charges :

                                             OVERVIEW OF THE SCHEME

            1.       From at least in or about 2012 until at least in or

about March 2021 , in the Southern District of New York and

elsewhere , JENNIFER SHAH and STUART SMITH, the defendants,

together with others known and unknown (collectively , the

"Participants " ) carried out a wide-ranging telemarketing scheme

that defrauded hundreds of victims (the "Victims") throughout

the United States , many of whom were over age 55 , by selling

those Victims so - called " business services " in connection with

the Victims ' purported online businesses                                            (the "Business

Opportunity Scheme " ) .

            2.       In order to perpetrate the Business Opportunity

Scheme , Participants, including JENNIFER SHAH and STUART SMITH ,

the defendants , engaged in a widespread , coordinated effort to
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traffic in lists of potential victims , or " leads ," many of whom

had previously made an initial investment to create an online

business with other Participants in the Scheme .        Leads were

initially generated by sales floors operating in, among other

places , Arizona , Nevada and Utah .    The owners and operators of

those sales floors operated in coordination with several

telemarketing sales floors in the New York and New Jersey area ,

including in Manhattan , and provided lead lists and assistance

in fighting Victim refund requests to other Participants

operating those floors .

     3.    JENNIFER SHAH and STUART SMITH , the defendants , among

other things , generated and sold leads to other Participants for

use by their telemarketing sales floors with the knowledge that

the individuals they had identified as "leads" would be

defrauded by the other Participants .      SHAH and SMITH yielded a

share of the fraudulent revenue per the terms of their agreement

with those Participants .    SHAH and SMITH often controlled each

aspect of the frauds perpetrated by other Participants on the

individuals they had identified by , among other things ,

determining which " coaching" sales floor could buy leads from

them , selecting the downstream sales floors that the "coaching"

sales floor was permitted to pass the leads along to , choosing

the firm(s)   to provide " fulfillment " services , that is ,

documents and records purporting to demonstrate that the
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services the Participants claimed to provide to those Victims

were actual and legitimate , setting how much the downstream

sales floors could charge , and determining which "products " each

of the downstream sales floors could sell .

      4.     To perpetrate the Business Opportunity Scheme , certain

of the Participants sold alleged services purporting to make the

management of Victims ' businesses more efficient or profitable ,

including tax preparation or website design services ,

notwithstanding that many Victims were elderly and did not own a

computer .   At the outset of the Business Opportunity Scheme ,

certain Participants employed by a purported fulfillment company

sent a g i ven Victim electronic or paper pamphlets or provided

so - called " coaching sessions" regarding these purported online

businesses , but at no point did the defendants intend that the

Victims would actually earn any of the promised return on their

intended investment , nor did the Victims actually earn any such

returns .

     5.      JENNIFER SHAH and STUART SMITH ,   the defendants ,

undertook significant efforts to conceal their roles in the

Business Opportunity Scheme .     For example , SHAH and SMITH , among

other things , incorporated their business entities using third

parties ' names and instructed other Participants to do the same ,

used and directed others to use encrypted messaging applications

to communicate with other Participants , i nstructed other
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Participants to send SHAH ' s and SMITH ' s share of certain fraud

proceeds to offshore bank accounts, and made numerous cash

withdrawals structured to avoid currency transaction reporting

requirements.

                        STATUTORY ALLEGATIONS

     6.   From at least in or about 2012 up to and including at

least in or about March 2021, in the Southern District of New

York and elsewhere , JENNIFER SHAH and STUART SMITH , the

defendants , and others known and unknown , willfully and

knowingly , did combine, conspire, confederate, and agree

together and with each other to commit wire fraud in connection

with the conduct of telemarketing, as that term is defined in

Title 18 , United States Code, Section 2325, which did victimize

ten and more persons over the age of 55 , in violation of

Title 18 , United States Code, Sections 1343 and 2326.

     7.   It was a part and an object of the conspiracy that

JENNIFER SHAH and STUART SMITH, the defendants , and others known

and unknown , willfully and knowingly , having devised and

intending to devise a scheme and artifice to defraud , and for

obtaining money and property by means of false and fraudulent

pretenses, representations , and promises, would and did transmit

and cause to be transmitted by means of wire communication in

interstate and foreign commerce, writings, signs , signals,

pictures , and sounds for the purpose of executing such scheme
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and artifice , in violation of Title 18 , United States Code ,

Sections 1 343 and 2326 , to wit , SHAH , SMITH , and ot h ers induced

and caused victims , many of whom were over the age of 55 , to pay

thousands of dollars to obtain so - called " coaching" and

" business services ," which they represented would make the

management of the victims ' purported online businesses more

efficient and/or profitable , when , in actuality , the " services "

would provide little or no value to the victims ' businesses ,

which were essentially non - existent .

       (Title 18 , United States Code , Sections 1349 , 2326(1) ,
                            & 2326 (2) (A) . )


                                COUNT TWO
                 (Conspiracy to Commit Money Laundering)

      The Grand Jury further charges :

      8.     The allegations contained in paragraphs 1 through 5

above are hereby repeated , realleged , and incorporated by

reference as if fully set forth herein .

      9.     From at least in or about 2012 up to and including at

least in or about November 2019 ,           in the Southern District of New

York and elsewhere , JENNIFER SHAH and STUART SMITH , the

defendants , and others known and unknown , knowingly did combine ,

conspire , confederate , and agree together and with each other to

violate Title 18 , United States Code , Sections 1956(a) (1) (B) (i)

and (a) ( 1) ( B) (ii) , and 19 5 7 (a) .
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      10 .   It was a part and an object of the conspiracy that

JENNIFER SHAH and STUART SMITH , the defendants , and others known

and unknown , knowing that the property involved in certain

financial transactions , to wit , cas h transactions and wire

transfers , represented the proceeds of some form of unlawful

activity , would and did conduct and attempt to conduct such

financial transactions , which in fact involved the proceeds of

specified unlawful activity, to wit , wire fraud , knowing that

the transactions were designed in whole and in part to conceal

and disguise the nature , location , source , ownership and control

of the proceeds of specified unlawful activity , in violation o f

Title 18 , United States Code , Section 1956(a) (1) (B) (i) .

      11 .   It was further a part and an object of the conspiracy

that JENNIFER SHAH and STUART SMITH , the defendants , and others

known and unknown , knowing that the property involved in certain

financial transactions , to wit , cash transactions and wire

transfers , represented the proceeds of some form of unlawful

activity , would and did condu c t   and attempt to conduct such

financial transactions , which in fact involved the proceeds of

specified unlawful activity , to wit , wire fraud , knowing that

the transactions were designed in whole and in part to avoid a

transaction reporting requirement under state or federal law , in

violation of Title 18 , United States Code , Section

1956(a) (1) (B) (ii) .
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      12.     It was further a part and an object of the conspiracy

that JENNIFER SHAH and STUART SMITH , the defendants , and others

known and unknown , within the United States , knowingly would and

did engage and attempt to engage in monetary transactions in

criminally derived property of a value greater than $10,000 that

was derived from specified unlawful activity , to wit , wire

fraud , in violation of Title 18, United States Code , Section

1957 (a) .

             (Title 18 , United States Code , Section 1956(h) . )

                          FORFEITURE ALLEGATIONS

      13 .    As a result of committing the offense alleged in Count

One of this Superseding Indictment , JENNIFER SHAH and STUART

SM I TH , the defendants , shall forfeit to the United States ,

pursuant to Title 18 , United States Code , Section 982(a) (8) , any

and all real or personal property used or intended to be used to

commit , to facilitate , or to promote the commission of said

offense ; and any and all real or personal property constituting ,

derived from , or traceable to the gross proceeds that the

defendant obtained directly or indirectly as a result of said

offense including but not limited to a sum of money in United

States currency representing the amount of proceeds traceable to
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the commission of said offense and the following specific

property:

                 a.   The real property described as 3241 North 700th

West , Lehi , Utah 84043.

          14 .   As a result of committing the offen ~e alleged in Count

Two of this Superseding Indictment , JENNIFER SHAH and STUART

SMITH , the defendants , shall forfeit to the United States ,

pursuant to Title 18 , United States Code , Section 982(a) (1) , any

and all property , real and personal , involved in said offense,

or any property traceable to such property , including but not

limited to a sum of money in United States currency representing

the amount of property involved in said offense and the specific

property set forth above in paragraph 13(a ) .

                          Substitute Asset Provision

          15 .   If any of the above - described forfeitable property , as

a result of any act or omission of the defendant :

                 a.   cannot be located upon the exercise of due

diligence ;

                 b.   has been transferred or sold to , or deposited

with , a third person ;


                 c.   has been placed beyond the jurisdiction of the

Court ;

                 d.   has been substantially diminished in value ; or

                 e.   has been commingled with other property which
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cannot be subdivided without difficulty ;

it is the intent of the United States, pursuant to Title 21 ,

United States Code , Section    853(p) , and Title 28 , United States

Code , Section 2461(c) , to seek forfeiture of any other property

of the defendant up to the value of the above forfeitable

property.

              (Title 18, United States Code , Section 982 ;
            Title 21 , United States Code , Section 853 ; and
             Title 28 , United States Code , Section 2461 . )




                                       United States Attorney
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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK



                      UNITED STATES OF AMERICA

                                    - v. -

                           JENNIFER SHAH, and
                              STUART SMITH,

                                 Defendants.


                  SEALED SUPERSEDING INDICTMENT

                           S4 19 Cr. 833 (SHS)

          (18 U. S . C .   §§   1349 , 1956(h) , and 2326 . )




                         AUDREY STRAUSS
                     United States Attorney
